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 UN I TED STATES DISTRICT COURT                          ELECTRONICALLY FIL ED
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 SOUTHERN DISTRICT OF NEW YORK
 FEDERAL TRADE COMMISSION and                        I   DA TE F-IL-E-D:_
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                                                                                    --. 2,-
                                                                                         ~ -- ___[J

 TH E PEOPLE OF THE STATE OF NEW
 YORK , by LETITIA JAMES , Attorney
 General of the State of New York ,
                                                    17 Civ . 124          (LLS)
                                Plaintiffs ,
                                                    OPINION & ORDER
                 - agains t -

 QU I NCY BIOSCI ENCE HOLDING
 COMPANY , INC ., a corporation ;

 QU I NCY BIOSCIENCE , LLC ,    a limited
 liabi li ty company ;

 PREVAGEN , INC ., a corporation
 d/b/a/ SUGAR RIVER SUPPLEMENTS ;

 QUINCY BI OSCIENCE
 MANU FAC TUR I NG , LLC , a l imited
 liabil i ty company ; and

 MARK UNDERWOOD , i ndividually and as
 an off i ce r o f QU I NCY BIOSCIENCE
 HOLD I NG COMPANY , INC ., QUINCY
 BIOSCI ENCE , LLC , AND PREVAGEN , INC .,

                                Defendants .



       Plaintiffs Federal Trade Commission ( " FTC " ) and the Peop l e

 of the State of New York , by the Attorney General of the State

 of New York (" NY AG" and , together with FTC , "plaintiffs " )

 bro u ght this action against Quincy Bioscience , Inc. , Quincy

 Bioscience , LLC , Prevagen , Inc ., Quincy Bioscience

 Manuf act u ring , LLC , and Mark Underwood (together " defendants " )

 alleging violations of the Federal Trade Commission Act and New

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Yo r k l aw f or deceptive advertising of Prevagen , a dietary

s u pplement marketed by defendants , which purports to improve

memo r y .

       On July 5 , 2022 , defendant Mark Underwood moved for , and

was granted , partial summary judgment in his favor for the

claims brought against him by the NY AG for lack of personal

j u ri s d i ction .

       Fo ll owing discovery regarding the defendants ' development

of Prevagen , defendants move for summary judgment . For the

following reasons , defendants ' motion for summary judgment is

denied.

        De f endants also move to exclude the testimony , in whole or

in part , of plaintiffs ' experts , Ors . Sano , Wittes , Berg , and

Malaspina . 0kt . No . 306 . For the following reasons , defendants '

motion is denied in part , and reserved in part .

        Pl aintiffs move to exclude the testimony , in whole or in

part , of defendants ' experts : Ors . David Schwartz , David Katz ,

Lee - Jen Wi , Mindy Kurzer , Richard Goodman , and David Gortler .

0kt . No . 303 . For the following reasons , plaintiffs ' motion is

granted in part , and reserved in part .

                                 BACKGROUND

        Defendant Quincy Bioscience Holding Company , Inc. is a

Wisconsin corporation . Defendants ' Reply to Plaintiffs ' Response

to Rule 56 . 1 statement ("56 . 1 statementn)      (0kt. No . 281) .

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De fendants Qu i ncy Bioscience , LLC , Prevagen , Inc ., and Quincy

Bioscience Manufacturing , LLC are wholly owned subsidiaries of

Quincy . Id. Defendants market and sell Prevagen , a dietary

supplement that includes Apoaequorin as an active ingredient .

Id . Defendants advertise Prevagen through a variety of

p l atfo r ms. Id .

      Wh i le deve l oping Prevagen , defendants conducted a

Randomized Control Test ("RCT " ) , referred to as the Madison

Memo r y Study , to determine the effectiveness of Prevagen ' s

ab i lity to improve memory .

       De f endants assert the Madison Memory Study "was a

ran domi zed , doub l e - blind , placebo - controlled study designed to

ex a mi n e the effect of apoaequorin on cognitive function in older

a dults " that involved in 218 adults . Graham Deel . Ex . 1 at 2 , 4

(Dkt . No . 35) . Plaintiffs challenge the Madison Memory Study ' s

cla i m to be double - bl i nd . 56 . 1 statement at 61 . " The primary

ob j ect i ve of the Madison Memory Study was to determine whether

Pr ev a gen with apoaequorin (10 mg) improves quantitative measures

of cogn i tive func t ion in community dwelling , older adults ."

Gra ham Deel . Ex . 1 at 1 .

       I n 2017 , the FTC and the NY AG brought this action against

defendant s, alleging that defendants '      advertising of Prevagen is

fa l s e advertising in violation of Sections 5 (a) and 12 of the

FTC Ac t, NY Exec . Law sec t ion 63(12 ) and NY GBL sections 349 and

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350 .   Complaint (" Comp. " ) at 26 - 29 (0kt . No . 1) . In their

complaint , plaintiffs alleged that the Madison Memory Study did

not support the defendants '      statements made in connection with

Prevagen's advertising . See generally , id . The FTC seeks

injunctive relief under Section 13(b) of the FTC Act . Id . at 30 .

The NY AG seeks both injunctive relief and monetary restitution.

Id.

        In count I , the FTC pleads a false efficacy claim against

defendants' statements that Prevagen (1)         improves memory ,    (2)

improves memory within 90 days ,       (3) reduces memory problems

associated with aging , and (4) provides other cognitive benefits

(the "e fficacy statements " ) . Plaintiffs ' Opposition to

Defendants ' Motion for Summary Judgment ("Opp. to SJ ." ) at 1

(0kt No. 254) .

        In count II , the FTC pleads a false establishment claim

against defendants'      statements that Prevagen (1) "has been

clinically shown to improve memory ," (2) was developed through

" a landmark double - blind and placebo controlled trial [that]

demonstrated Prevagen improved short - term memory,         learning , and

delayed recall over 90 days ," (3) "helps with memory problems

associated with aging ,"      (4) "is clinically shown to help with

mild memory problems associated with aging ," and (5)           supports

"healthier brain function, a sharper mind and clearer thinking"




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(the "establishment statements " and together with the "efficacy

statements ," the " challenged statements " ) . Id .

      On June 22 , 2020 , defendants , in addition to Michael

Beaman , entered into a class action settlement in another case ,

which arose from substantially the same facts as those alleged

in the present action . Collins , et al . v . Quincy Bioscience , LLC ,

No . l: 19 - cv - 22864 - MGC (S . D. Fla . )   (the "Collins settlement") . As

part of the Collins settlement , defendants agreed to include

either one of two statements (the " Collins qualifiers")              in their

marketing of Prevagen : " (i) Based on a clinical study of

subgroup s of individuals who were cognitively normal or mildly

impaired . This product is not intended to diagnose , treat , cure ,

or prevent any disease ;" or " (ii) Based on results from two

subgroups of individuals who participated in a randomized

double - blind placebo controlled clinical study . Participants in

the two subgroups were cognitively normal or mildly impaired .

This product is not intended to diagnose , treat , cure , or

prevent any disease ." 56 . 1 statement at 25.

       Defendants now move for summary judgment on all claims and

request dismissal of all claims with prejudice . In their motion

for summary judgment , defendants argue that there is no question

of material fact that the challenged statements were supported

by competent and reliable evidence , plaintiffs have failed to

put forward evidence that consumers were misled by Prevagen ' s

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statements , this action is not a " proper case" for relief under

FTC Act Section 13(b) , the NY AG ' s claims are preempted by

federal law , the NY AG ' s claims are barred by the General

Bus i ness Law ' s safe harbor provisions , and the NY AG is barred

from seeking restitution in light of the Collins settlement .

                             LEGAL STANDARDS

  I.     Summary Judgment

       Summary judgment is warranted if , based upon admissible

ev i dence , " the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a

matter of law ." Fed . R. Civ . P . 56(a) ; see Celotex Corp . v .

Catrett , 477 U. S . 317, 322   (1986) . In deciding a motion for

summary judgment , a court must "construe all evidence in the

light most favorable to the nonmoving party, drawing all

inferences and resolving all ambiguities in its favor ."

Dickerson v . Napolitano , 604 F . 3d 732 , 740    (2d Cir . 2010)

" Nevertheless , the non[ - ]moving party must come forward with

specific facts showing that there is a genuine issue of material

fact for trial. Conclusory allegations , conjecture, and

speculation ... are insufficient to create a genuine issue of

fact ." Joseph v . N. Shore Univ . Hosp ., 473 F . App'x 34, 36 (2d

Cir . 2012) (quoting Shannon v. N. Y. City Transit Auth ., 332 F . 3d

95 , 99 (2d Cir . 2003)) (internal citations omitted) (alterations in

the original).

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    II .     The FTC Act

        Section 5 of the FTC Act provides that "unfair methods of

competition in or affecting commerce , and unfair or deceptive

acts or practices in or affecting commerce , are hereby declared

unlawful. " 15 U. S . C . § 45(a) (1) ; Fed . Trade Comm ' n v . Verity

Int ' 1 , Ltd ., 443 F. 3d 48 , 54-55 (2d Cir . 2006) . Section 12 of

t h e FTC Act provides that "it shall be unlawful for any person ,

pa rt nership , or corporation to disseminate , or cause to be

d is semina ted , any false adver t isement-(1) By United States

ma i ls , or in or having an effect upon commerce , by any means ,

fo r t he purpose of inducing , or which is likely to induce ,

di r ect l y or indirectly the purchase of food , drugs , devices ,

s e r vices , or cosmetics ; or (2) By any means , for the purpose of

in d ucing , or which is likely to induce , directly or indirectly ,

the purcha se in or having an effect upon commerce , of food ,

drug s, devices , services , or cosmetics ." 15 U. S.C . § 52(a)             A

" f a lse advertisement means an advertisement , other than

labe l ing , which i s misleading in a material respect ." Id . at§

55 (a ) ( 1 ) .

           Fa ls e adver t ising in violation of Section 12 is a deceptive

ac t o r practice i n violation of Section 5 . See id . at§             52(b) .

Th e re f ore , Section 12 and Section 5 are often " applied in tandem

as the ba s is for an FTC action against an alleged false

adver t iser ." Fed . Trade Comm ' n v . Direct Mktg . Concepts , Inc .,

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624 F . 3d 1 , 7-8    (1st Cir. 2010) ; see e . g ., Fed . Trade Comm ' n v .

COORGA Nutraceuticals Corp ., 201 F . Supp . 3d 1300 , 1308 ( D. Wyo.

2016) .

      To prove deceptive advertising under the FTC Act , the FTC

has the burden to show : "[1] a representation , omission , or

practice , that [2] is likely to mislead consumers acting

reasonably under the circumstances , and [3] , the representation ,

omission , or practice is material ." Fed . Trade Comm ' n v . Quincy

Bioscience Holding Co. , Inc. , 753 F. App ' x 87 , 89 (2d Cir .

2019) ; Fed . Trade Comm ' n v . Med . Billers Networ k , Inc., 543 F .

Supp . 2d 283 , 304      (S . D. N. Y. 2008 ) . Each challenged

representation "must stand on its own merit, e v en if other

representations contain accurate , non - deceptive information. "

Med . Billers Network , Inc ., 543 F . Supp . 2d at 304.


   III . Federal Rule of Evidence 702

    The admissibility of expert testimony is governed b y Federal

Rule o f Evidence 702 , which provides :


     If scientific , technical , or other specialized knowledge will

    assist the trier of fact to understand the evidence or to

    determine a fact in issue , a witness qualified as an expert

    by knowledge , skill , experience , training , or education , may

     testify thereto in the form of an opinion or otherwise , if

     ( 1) the testimony is based upon sufficient facts or data,             ( 2)


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    the testimony is the product of reliable principles and

    methods , and (3) the witness has applied the principles and

    methods reliably to the facts of the case . Fed . R. Evidence

    702 .


      Under Rule 702 , "the trial judge must ensure that any and

all scientific testimony or evidence admitted is not only

rel evan t, b u t reliable ." Daubert v . Merrell Dow Pharmaceuticals ,

Inc ., 509 U. S . at 589 (1993 ) . While the "inquiry envisions by

Rule 702 is ... a flexible one ," the "gate keeping inquiry must be

ti ed to the facts of a particular case ." Amorgianos v . Nat ' l

R. R . Passenger Corp ., 303 F . 3d 256 , 266 (2d Cir . 2002 )      (citing

Daubert , 509 U. S . at 579 and Kumho Tire , Ltd . V. Carmichael , 526

U. S . 1 37 , 150 (1999))    (internal citations omitted)       (alterations

in the original) .

      " The judge should only exclude the evidence if the flaw is

large enough that the expert lacks ' good grounds ' for his or her

conclusions ." Amorgianos , 303 F . 3d at 267 .


   IV .     NY Law

             A. General Business Law Sections 349 and 350

      " To successfully assert a claim under General Business Law

§ 349 or§ 350 , a plaintiff must al l ege that a defendant has

engaged in (1) consumer - oriented conduct that is (2) materially

misleading and that (3) plaintiff suffered injury as a result of


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the allegedly deceptive act or practice ." Quincy Bioscience

Holding Co ., Inc ., 753 F . App ' x at 89 (citing Koch v . Acker ,

Merrall   &   Condit Co ., 18 N. Y. 3d 94 0 , 941   (2 0 12 ))   ( internal

quotation marks omitted) .

          B . New York Executive Law§ 63 ( 12 )

     Under NY Exec . Law§ 63(12) , "[w]henever any person shall

engage in repeated fraudulent or illegal acts or otherwise

demonstrate persistent fraud or illegality in the carrying on,

conducting or transaction of business , the attorney general may

apply , in the name of the people of the state of New York , to

the supreme court of the state of New York , on notice of five

days , for an order enjoining the continuance of such business

activity or of any fraudulent or illegal acts , directing

restitution and damages . "



                                  DISCUSSION

   I . Whether Defendants ' Claims Regarding Prevagen Violated the
       FTC Act is a Question of Material Fact

     The Defendants are not moving for summary judgment for lack

of a genuine issue of material fact that representations

regarding the effectiveness of Prevagen while advertising that




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dietary supplement 1 were made. What parties disagree about is

whether the statements were misleading.

     The FTC brings both "efficac y " and "establishment" claims

against Defendants' advertising of Prevagen. The FTC argues

there is a genuine issue of material fact about whether both the

efficacy claims and establishment claims were misleading .

Whether they are misleading depends on the level of

substantiation required to market each claim.

     "An efficacy claim suggests that a product successfully

performs the advertised function or yields the advertised

benefit, but includes no suggestion of scientific proof of the

product's effectiveness. An establishment claim, by contrast,

suggests that a product's effectiveness or superiority has been

scientifically established." POM Wonderful, LLC v . Fed. Trade

Comm'n, 777 F.3d 478, 490 (D.C. Cir. 2015) (citing Removatron

Int'l Corp. v. Fed. Trade Comm'n, 884 F.2d 1489, 1492 n. 3 (1st

Cir. 1989) and Thomson Med. Co v . Fed. Trade Comm'n. 791 F.2d

189, 194   (D .C. Cir. 1986)) (internal citations omitted).

      If an ad conveys an efficacy claim, the advertiser must

possess a "reasonable basis" for that claim. E.g. POM Wonderful ,

777 F.3d at 490. Even though it need not be specified in the ad,

to have a "reasonable basis" for the claim, the claims must have



1
 Notably, the parties now agree that Prevagen constitutes a dietary
supplement; however , they disagree as to the impact of that label .

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the support of "competent and reliable scientific evidence."

COORGA Nutraceuticals Corp ., 201 F . Supp. 3d at 1309; see

"Dietary Supplements: An Advertising Guide for the Industry" at

9 ("the FTC typically requires claims about the efficacy or

safety of dietary supplements to be supported with 'compete nt

and reliable scientific evidence.'")

     "[W]hat constitutes competent and reliable scientific

evidence      is a question of fact for expert interpretation. In

the case of dietary supplements or health related claims,

' competent and reliable scientific evidence' consists of ' tests,

analyses, research , studies , or other evidence based on the

expertise of professionals in the relevant area, that have been

conducted and evaluated in an objective manner by persons

qualified to do so, using procedures generally accepted in the

profession to yield accurate and reliable results .'" E.g., Fed .

Trade Comm ' n v . Alcoholism Cure Corp ., 2011 WL 13137951, at *27

(M . D. Fla . Sept . 16, 2011) , aff ' d sub nom . Fed . Trade Comm'n v .

Krotzer , 2013 WL 7860383 (11th Cir. May 3, 2013) (quoting Fed.

Trade Comm ' n v . Nat ' l Urological Grp., Inc., 645 F . Supp . 2d

1167, 1190 (N.D. Ga . 2008) , aff ' d,   356 F. App'x 358    (11th Cir .

2009)) (alterations in the original).

     If an ad conveys an establishment claim, the level of

substantiation required for the claim depends on whether the

challenged claim is a specific or non - specific claim :

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     If an establishment claim "states a specific type of
     substantiation ," the "advertiser must possess the
     specific substantiation claimed." Removatron , 884 F.2d
     at 1492 , n . 3. If an ad instead conveys a non - specific
     establishment claim-e . g ., an ad stating that a
     product ' s efficacy is "medically proven " or making use
     of " visual aids " that "clearly suggest that the claim
     is based upon a foundation of scientific evidence "-the
     advertiser "must possess evidence sufficient to
     satisfy the relevant scientific community of the
     claim ' s truth ." Bristol-Myers Co ., 102 F.T . C . 21 , 321
     (1983) , aff ' d , 738 F . 2d 554 (2d Cir . 1984). The
     Commission therefore " determines what evidence would
     in fact establish such a claim in the relevant
     scientific community " and " then compares the
     advertisers ' substantiation evidence to that required
     by the scientific community." Removatron , 884 F . 2d at
     1498 .
POM Wonderful , 777 F.3d at 491 .

     As such , each of the efficacy claims and the establishment

claims requires expert opinion that it is based upon sufficient

scientific evidence to satisfy the "relevant scientific

community of its truth " to comply with the FTC Act . So :

      1 . whether Quincy ' s statements that Prevagen (1) improves

memory ,   ( 2) improves memory within 90 days ,   ( 3) reduces memory

problems associated with aging , and (4) provides other cognitive

benefits ,   (all efficacy claims) , are misleading will require

expert opinion on whether they are supported by competent and

reliable scientific evidence ;

      2. whether Quincy ' s statements Prevagen (1)      "has been

clinically shown to improve memory ," (2) " helps with memory

problems associated with aging ," and (3) "is clinically shown to

help with mild memory problems associated with aging ," and (4)

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can support " healthier brain function , a sharper mind and

clearer thinking , "   (non - specific establishment claims) are

misleading will require expert opinion on whether Quincy has

sufficient evidence to satisfy the relevant scientific community

of that claim ' s truth ; and

     3 . whether Quincy ' s statement that "a landmark double - blind

and placebo - controlled trial demonstrated Prevagen improved

short - term memory , learning , and delayed recall over 90 days , "

(a specific establishment claim) is misleading will require

expert testimony on whether the Madison Memory Study supports

that claim .

     On this summary judgment motion the court applying the

efficacy and establishment tests , " must determine whether there

was uncontroverted evidence regarding :      (1) what sort of evidence

would sc i entifically establish the claims the Defendants made in

their infomercials ; and (2) whether the Defendants were actually

possessed of such evidence ." Direct Mktg , 624 F.3d at 8 - 9

(citing Removatron , 884 F . 2d at 1498) .

     The defendants here have not shown such uncontroverted

evidence on those points as to support the entry of summary

judgment in their favor .

     The thrust of the defendants ' argument for summary

judgment- and their motions in limine as it seeks the preclusion

of to Dr . Mary Sano and Dr . Wittes-is that plaintiffs , rather

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than applying the " competent and reliable scientific evidence "

standard described in the FTC ' s "Dietary Supplements : An

Advertising Guide for the Industry "     (the " FTC Guidance" ) , ha v e

simply presumed that a randomized clinical study is required to

support Prevagen ' s advertising claims . Defendants argue that

requiring an RCT artificially holds defendants to a higher "drug

level " substantiation standard than the standard required for

dietary supplements ' advertisements.

     That argument misses the mark . The critical question for

trial does not turn on an interpretation of the FTC Guidance .

The question for trial is whether defendants had the necessar y

scientific evidence to support the claims defendants made while

adverti s ing Prevagen . That is an issue for the experts in the

field and is not necessarily limited or expanded in scope , as

discussed below , by experts '   reference to the FTC Guidance . Its

determination depends on the match between the defendants '

statements and the proof .

     An RCT is not specifically required for the efficacy claims

for this level of substantiation . However , expert testimony may

show that it is required. If so , that will not represent a

h i gher standard than the FTC requires ; several other courts have

found that an RCT may be required to substantiate challenged

marketing statements . Fed . Trade Comm ' n v . Braswell , 2 00 5 WL

4227194 , at *10 (C.D . Cal . Sept . 27 , 2005)   (collecting cases)

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Defendants are correct that , apart from the specific

establishment claim , which requires a double - blind and placebo -

controlled trial , other research conducted into the effects of

Prevagen and Apoaequorin may be considered in determining

whether their challenged claims were substantiated.

      The lack of evidence of consumer perception does not mean

finding that the challenged statements were not misleading .

" Where the advertisers lack adequate substantiation evidence ,

they necessarily lack any reasonable basis for their claims. And

where the advertisers so lack a reasonable basis , their ads are

deceptive as a matter of law . " Direct Mktg . Concepts , Inc ., 624

F . 3d at 8 (citing Removatron , 884 F . 2d at 1498). Therefore ,

evidence of consumer perception is superfluous if the FTC proves

at trial that defendants did not possess the necessary

scientific substantiation to support the challenged statements .

      There remains a genuine issue of fact for trial of what

constitutes " competent and reliable" scientific evidence

regarding the defendants ' efficiency claims and whether

defendants possessed specific substantiation for the FTC ' s

specific and non - specific establishment claims . The battle of

the experts on these points defeats defendants ' motion for

summary judgment .

   II .   Motions in Limine to Exclude Experts

          A. Defendants ' Motion to Exclude Plaintiffs' Testimony

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              1. Dr . Sano and Dr. Wittes

     Defendants challenge the testimony of Dr . Sano and Dr.

Wittes on the basis that they hold defendants to a higher , "gold

standard" than what is required under the FTC Guidelines .

Defendants argue that failure to apply the correct legal

standard renders their opinions irrelevant.

     Defendants state that Dr . Sano fashioned "her own standard

by which to hold Quincy accountable , detailing the various

hurdles that she believes scientific evidence must clear to be

considered ' competent and reliable ' under the FTC Act and New

York law ." Defendants ' Motion to Exclude at 11 .      At great

length , defendants rehearse the amount of evidence favorable to

Quincy , which they claim Ors . Sano and Wittes disregarded. In

effect , Quincy argues the duty of the expert       (presumed to be

independent) is to form her opinion on the bases of the evidence

as a whole , resting on accepted principles .

     But these experts are simply reviewed science related to

Prevagen and concluded that despite the other evidence , an

effective human clinical trial is necessary.

     Defendants fault Ors . Sano and Wittes for failing to weigh

the defendants ' evidence in support of Prevagen .

     The law does not specify what evidence the expert is to

take into consideration .     The appropriate response to the



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experts '    choice of omissions is to test that opinion at trial

through cross examination .

                 2 . Dr . Malaspina

      Defendants argue that Dr. Malaspina does not have the

proper expertise to opine on the Seemingly Unrelated Regressions

("SUR " ) analysis because he is not an expert in the fields of

clinical trials and epidemiology and therefore lacks the

qua l ifications to testify about the SUR economic model . However,

an opinion on the SUR analysis requires an expertise in

economics , econometrics , and statistics , not clinical trials

epidemiology . As Dr . Malaspina is qualified as an expert in

economics , econometrics , and statics , he will be allowed to

testify to the econometric and statistical errors of the SUR

analysis conducted , which is relevant to the question to be

considered at trial.

            B . Plaintiffs ' Motion to Exclude Defendants ' Experts

              1. Ors .   Schwartz , Katz , and Wei

      Plaintiffs challenge the admissibility of Ors . Schwartz ,

Katz , and Wei on the ground that their testimony constitutes

improper legal opinions . The experts are prohibited from opining

on the proper legal standard , which has been described in

detail, supra .




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     The experts may also not opine on the development of the

FDA regulatory scheme or on Congress '     intent in passing certain

laws, such as the Dietary Supplement Health and Education Act .

            2 . Dr. Kurz er

     Dr. Kurzer is qualified to evaluate the quality of the

defendants ' scientific support for the challenged statements and

whether the studies conducted by defendants to substantiate

their marketing claims constitute competent and reliable

scientific evidence. However , Dr . Kurzer may not draw an

ultimate conclusion as to whether Prevagen impacts cognition or

memory.

     Dr . Kurzer may not opine on any conclusion she draws based

upon her own "logic" and "common sense ." Under Federal Rule of

Evidence 702 , expert testimony must be the "product of reliable

principles and methods ," and conclusions based upon "logic" or

" common sense " may well be intuitive and subjective rather an

objective and testable principle or method .

          C . Remaining Objections

     Those objections raised in the defendants ' and plaintiffs '

motions in Limine that are not reso l ved by this opinion are

reserved for trial .




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  III. Relief Sought

      The FTC requests injunctive relief under Section 13(b) of

the FTC Act . Defendants argue that injunctive relief is

unavailable to the FTC because it is not a "proper case" for

relief under Section 13(b) , and the Collins qualifiers will

prevent any future violations.

          " Generally ,   ' [a]n injunction is a matter of equitable

discretion .'" E.E.O.C. v. KarenKim , Inc ., 698 F.3d 92 , 100 (2d

Cir . 2012) (quoting Winter v. Natural Res. Defense Council Inc. ,

555 U. S . 7 , 32 (2008)      (alteration in the original) . "[T]he

court 's power to grant injunctive relief survives discontinuance

of the illegal conduct ." Id .       (citing United States v . W. T .

Grant , 345 U. S . 629 , 633 (1953)     (alteration in the original)

      In view of the discretionary nature of injunctions and the

variety of factors which are considered in the decision whether

to impose one , discussion of that topic in this case will be

left until the relevant evidence has been refined in the

crucible of trial and the verdict .


   IV .     New York Attorney General Claims


     Defendants argue the NY AG ' s claims are preempted by federal

law, or that defendants are protected by the safe harbor

provision under N. Y. Gen . Bus . Law§§ 349 and 350 , and the NY AG

is barred from seeking restitution .

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    A. Preemption

     Defendants argue the NY AG improperly seeks to impose a

higher substantiation requirement on Quincy than the analogous

federal law. SJ at 43 .       In making this argument , defendants rely

on 21 U.S.C. § 343 -l (a) (5) , which states "no State or political

subdivision of a State may directly or indirectly establish" any

labeling requirement "that is not identical to the requirement"

imposed by the FDCA .

        But defendants misconstrue the nature of the NY AG's claims

in this case , which are focused on deceptive advertising , not

labeling requirements . See e . g ., Warren v . Whole Foods Mkt .

Grp ., Inc., 574 F. Supp . 3d 102 , 113 (E . D. N. Y. 2021 ) .     The

applicable federal law to be considered in this case is the FTC

Act , not the FDCA and the OSHEA .          In Jovel v . i-Health , Inc .,

the court found that a deceptive advertising claim based on a

product , which was "labeled as supporting brain development and

function , improving memory , supporting mental clarity and

protecting against normal cognitive decline" was not preempted

by federal law because although "those statements are part of

the products ' labeling and may touch on an area regulated by the

FDA , consumer protection claims founded on their falsity are not

preempted." 2013 WL 5437065 , at *5 (E . D. N.Y . Sept . 27 , 2013; See

e .g., Hughes v. Ester C Co ., 99 F . Supp . 3d 278 , 287        (E . D. N. Y.

2015)    ("The FDCA is not focused on the truth or falsity of

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advertising claims , but is directed to protecting the public by

ensuring that drugs sold in the marketplace are safe , effective

and not misbranded ... " )   (internal citations omitted) . The NY

AG ' s c l aims are not preempted by the FDCA and the OSHEA .

     B . N. Y. Gen . Bus . Law§§ 349 and 350 Safe Harbor

     Defendants seek the protection of the Safe Harbor provision

in N. Y. Gen . Bus . Law§§ 349(d) and 350 , which provides , "[i]n

any such action i t shall be a complete defense that the act or

practice is , or if in interstate commerce would be , subject to

and complies with the rules and regulations of , and the statutes

administered by , the federal trade commission or any official

dep a rt ment , division , commission or agency of the United States

as such r ules , regulations or statutes are interpreted by the

f edera l trade commission or such department , division ,

commission or agency or the federal courts ."

     The defendants '   argument and applicability of this " safe

harbor " provision rests on its assumption of compliance with

federal l aw .   There being a genuine issue of material fact

whether the defendants have complied with federal law , summary

judgment as to the NY AG ' s claims under the " safe harbor "

provision canno t be granted until it prevails at trial .

     C . NY AG ' s Ability to Gain Restitution

     Unde r the fundamen t al principle of res judicata , the NY AG

is prohibited from obtaining restitution on behalf of those

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class members who are covered by the Collins Settlement. See

Matter of People v . Applied Card Sys ., Inc ., 11 NY . 3d 105 , 124 -

25 (NY Ct . of App . 2008) . However, the NY AG may seek

restitution on behalf of those who are not covered by the

settlement .

      So ordered .

Dated :    New York , New York
           December 19 , 2022


                                           LOUIS L . STANTON
                                               U. S . D. J .




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